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                        1     GARMAN TURNER GORDON LLP                    MICHAEL D. NAPOLI, ESQ.
                              GERALD M. GORDON                            Pro hac vice
                        2     Nevada Bar No. 229                          AKERMAN LLP
                              E-mail: ggordon@gtg.legal                   2001 Ross Avenue, Suite 3600
                        3
                              WILLIAM M. NOALL                            Dallas, Texas 75201
                        4     Nevada Bar No. 3549                         Tel: (214) 720-4360 / Fax: (214) 720-8116
                              E-mail: wnoall@gtg.legal                    Email: michael.napoli@akerman.com
                        5     GABRIELLE A. HAMM
                                                                          ARIEL E. STERN, ESQ.
                              Nevada Bar No. 11588
                        6                                                 Nevada Bar No. 8276
                              E-mail: ghamm@gtg.legal
                                                                          AKERMAN LLP
                              7251 Amigo St., Suite 210
                        7                                                 1635 Village Center Circle, Suite 200
                              Las Vegas, Nevada 89119
                                                                          Las Vegas, Nevada 89134
                        8     Tel: (725) 777-3000 / Fax: (725) 777-3112
                                                                          Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                                          Email: ariel.stern@akerman.com
                        9
                              Attorneys for Tecumseh–Infinity Medical
                      10      Receivable Fund, LP

                      11                        IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF NEVADA
                      12
                              In re:                                         Case No. 21-14486-abl
                      13
                              INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      14      dba INFINITY HEALTH CONNECTIONS,
                      15                    Debtor.
                              HASELECT-MEDICAL RECEIVABLES                   Adversary Case No. 21-01167-abl
                      16      LITIGATION FINANCE FUND
                              INTERNATIONAL SP,
                      17
                                               Plaintiff,
                      18
                              v.
                      19
                              TECUMSEH–INFINITY MEDICAL
                      20      RECEIVABLES FUND, LP,
                      21                   Defendant.
                      22      TECUMSEH–INFINITY MEDICAL
                              RECEIVABLES FUND, LP,
                      23
                                               Counter-Claimant,
                      24
                              v.
                      25
                              HASELECT-MEDICAL RECEIVABLES
                      26      LITIGATION FINANCE FUND
                              INTERNATIONAL SP; ROBERT E.
                      27      ATKINSON, CHAPTER 7 TRUSTEE

                      28                       Counter-Defendants.
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
      725-777-3000
                              Case 21-01167-abl         Doc 63     Entered 03/24/22 13:42:00         Page 2 of 15


                        1     ROBERT E. ATKINSON, CHAPTER 7
                              TRUSTEE,
                        2
                                                   Counter-Claimant,
                        3
                              v.
                        4
                              TECUMSEH–INFINITY MEDICAL
                        5     RECEIVABLES FUND, LP,
                        6                          Counter-Defendant.
                        7

                        8                                       CERTIFICATE OF SERVICE

                        9              1.     On March 22, 2022, I served the following document(s):

                      10                     a.       Tecumseh-Infinity Medical Receivable Fund, LP’s               Dkt. No. 59
                                                      Motion to Dismiss all Claims for Lack of Subject Matter
                      11                              Jurisdiction
                      12
                                             b.       Notice of Hearing on Tecumseh-Infinity Medical                Dkt. No. 60
                      13                              Receivable Fund, LP’s Motion to Dismiss all Claims for
                                                      Lack of Subject Matter Jurisdiction
                      14

                      15               I served the above-named document(s) by the following means to the persons as listed

                      16      below:

                      17                              ECF System: See attached ECF Confirmation Sheets.

                      18               2.     On March 24, 2022, I served the following document(s):

                      19                     a.       Notice of Hearing on Tecumseh-Infinity Medical                Dkt. No. 60
                                                      Receivable Fund, LP’s Motion to Dismiss all Claims for
                      20                              Lack of Subject Matter Jurisdiction
                      21
                                                      United States Mail, postage fully prepaid: See attached mailing list.
                      22
                                       I declare under penalty of perjury that the foregoing is true and correct.
                      23
                                       DATED this 24th day of March 2022.
                      24

                      25                                                         /s/ Melissa Burkart
                                                                                 Melissa Burkart, an employee of
                      26                                                         Garman Turner Gordon LLP

                      27

                      28
  Garman Turner Gordon
     Attorneys at Law
7251 Amigo Street, Ste. 210
   Las Vegas, NV 89119
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      725-777-3000
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Label Matrix for local noticing                 INFINITY CAPITAL MANAGEMENT, INC.         THE INJURY SPECIALISTS
0978-2                                          1700 W HORIZON RIDGE PKWY #206            C/O SAGEBRUSH LAWYERS, LLC
Case 21-14486-abl                               HENDERSON, NV 89012-4840                  112 S WATER ST, STE 104
District of Nevada                                                                        HENDERSON, NV 89015-2312
Las Vegas
Fri Mar 18 10:59:46 PDT 2022
United States Bankruptcy Court                  ARIEL E. STERN, ESQ.                      Alcovy Neurology, P.C.
300 Las Vegas Blvd., South                      Nevada Bar No. 8276                       Attn: Juan C. Lacayo MD
Las Vegas, NV 89101-5833                        1635 Village Center Circle, Suite 200     3535 Highway 81
                                                Las Vegas, Nevada 89134-6375              Loganville, GA 30052-4336


Alliance Healthcare Services                    Alliance Spinal Therapy &                 AmPro Orthotics & Prothetics Inc.
Attn: Managing Member                           Rehabilitation Group                      Attn: Luis E. Choto
1019 East 22nd Ave.                             Attn: Managing Member                     6877 S Eastern Ave
Cordele, GA 31015-1913                          7455 West Washington Ave Suite 140        Las Vegas, NV 89119-4626
                                                Las Vegas, NV 89128-4349

American Express National Bank                  American Health Imaging                   AmerisourceBergen Specialty Group
200 Vesey Street                                Attn: Dan Balentine                       Attn: Stefani D. Forsythe
New York, NY 10285-0002                         6590 Powers Ferry Road                    3101 Gaylord Parkway
,                                               Atlanta, GA 30339-2933                    Frisco, TX 75034-8655


Anesthesiology Consultants Inc.                 Anthony M. Odell DC                       Artiano Shinoff
Attn: Bradford Isaacs MD                        Attn: Anthony M. Odell DC                 Attn: Bankruptcy Dept/Managing Agent
7220 South Cimarron Rd Suite 230                3227 Perkiomen Ave                        3636 4th Avenue
Las Vegas, NV 89113-2173                        Reading, PA 19606-2740                    San Diego, CA 92103-4280


Associated Oral Specialties Inc.                Associated Pathologists Laboratories      Athens Orthopedics Clinic
Attn: Dr. Freddie J. Wakefield Jr.              Attn: Rick Reber                          Attn: Kayo Elliot
5671 Peachtree Dunwoody Rd. Suite 420           2075 E. Flamingo Rd.                      1765 Old West Broad St. Bldg. 2 # 2
Atlanta, GA 30342-5004                          Las Vegas, NV 89119-5188                  Athens, GA 30606-2887


Atlanta Spine Institute                         Atlas Orthopaedics                        Bart K. Larsen, Esq.
Attn: Dr. Plas T. James                         Attn: Dr. Duncan Wells                    SHEA LARSEN
5667 Peachtree Dunwoody Rd. # 220               970 Woodstock Pkwy Ste 310                1731 Village Center Circle, Suite 150
Atlanta, GA 30342-1725                          Woodstock, GA 30188-4869                  Las Vegas, Nevada 89134-0517


Bethea Consulting & Psychological               Borg Law Group                            CLARK COUNTY ASSESSOR
Services PC                                     Attn: Brooke M. Borg Esq.                 C/O BANKRUPTCY CLERK
Attn: Angela R. Bethea Ph.D                     9555 Hillwood Dr. Suite 150               500 S. GRAND CENTRAL PKWY
5 Concourse Parkway NE Suite 3000               Las Vegas, NV 89134-0579                  BOX 551401
Atlanta, GA 30328-7106                                                                    LAS VEGAS, NV 89155-4502

CLARK COUNTY TREASURER                          CLAUS NISSEN                              COX INTERNET
C/O BANKRUPTCY CLERK                            HUGO-DISTLER STRASSE 64                   ATTN: MANAGING MEMBER
500 S. GRAND CENTRAL PKWY                       D-90411 NUERNBERG, GERMANY                1700 VEGAS DRIVE
P.O. BOX 551220                                                                           LAS VEGAS, NV 89106-2111
LAS VEGAS, NV 89155-1220

Carbajal & McNutt LLP                           Care4Life Home Health Agency              Carl N. Williams MD
Attn: Dan McNutt                                Attn: Mary Levy                           Attn: Carl N. Williams MD
625 S. Eight Street                             8665 W. Flamingo Rd.                      2020 Wellness Way 501
Las Vegas, NV 89101-7004                        Las Vegas, NV 89147-8624                  Las Vegas, NV 89106-4145
                            Case 21-01167-abl    Doc 63       Entered 03/24/22 13:42:00    Page 8 of 15
Carrollton Orthopedic Clinic                    Center for Spine & Pain Medicine          Center of Special Procedures at Summerlin
Attn: J. Ben Butler                             Attn: Suleman Sohani                      Attn: William S. Muir MD
150 Clinic Ave Ste 101                          1413 Chattanooga Ave                      653 N Town Center Dr
Carrollton, GA 30117-4402                       Dalton, GA 30720-2631                     Las Vegas , NV 89144-0514


Cherokee Imaging Center                         Childrens Orthopaedics of Atlanta         Chimedical Management Group
Attn: Jonna Roopas                              Attn: Mark Klein                          Attn: Dr. Stephen Cooper
2000 Village Professional Dr                    1200 Lake Hearn Drive Suite 400           P.O Box 1611
Canton, GA 30114-8499                           Atlanta, GA 30319-1459                    Phenix City, AL 36868-1611


Clear Lake Imaging LLC                          ColdCo Therapies LLC                      Collections Consultants Nevada
Attn: Managing Member                           Attn: AdamLurie                           Attn: Bonnie Barnett
202 N Texas Ave                                 1362 Rietveld Row                         5440 W. Sahara Ave Suite 300
Webster, TX 77598-4967                          Nw Atlanta, GA 30318-4109                 Las Vegas, NV 89146-0361


Comprehensive Spine & Pain                      Concordia Anesthesialogy Inc.             Coosa Diagnostic Center
Attn: Dr. V.K. Puppala                          Attn: Stephan Gosch                       Attn: Eddie Rivers
403 Permian Way Suite D                         120 Ottly Dr. NE Suite C                  16 Riverbend Dr SW
Villa Rica, GA 30180-3226                       Atlanta, GA 30324-3978                    Rome, GA 30161-6066


Cornerstone Orthopedics &                       Coronado Surgery Center                   Craniospinal Institute of Georgia
Sports Medicine                                 Attn: Dr. Mike Crovetti                   Attn: Dr. Daniel W. Moore
Attn: Rhett K. Rainey                           2779 W Horizon Ridge Pkwy Ste 140         790 Church St NE
299 N Broad St                                  Henderson, NV 89052-4186                  Marietta, GA 30060-8957
Winder, GA 30680-2155

Creative Funding Services Inc.                  DANIEL P. NICHOLAS                        DEPT. OF EMPL, TRAINING & REHAB
Attn: Brett Hansbery                            3842 N. SOUTHPORT AVE. APT. M             EMPLOYMENT SECURITY DIVISION
1135 Bay Street Suite 10                        CHICAGO, IL 60613-6226                    500 EAST THIRD STREET
San Francisco, CA 94123-2315                                                              CARSON CITY, NV 89713-0002


DYNAMIC LEGAL RECOVERY                          Damien A. Doute MD                        Daniel Eisenman MD
ATTN: MANAGING MEMBER                           Attn: Damien A. Doute MD                  Attn: Daniel Eisenman MD
25600 RYE CANYON ROAD #209                      1462 Montreal Rd                          3050 Royal Blvd. Suite 100
VALENCIA, CA 91355-1172                         Tucker, GA 30084-6929                     Alpharetta, GA 30022-4484


David S. Owens MD                               Douglas W. Kindall MD                     Dr. Abbas Haider DDS
4545 Harris Trail                               Attn: Douglas W. Kindall MD               Attn: Dr. Abbas Haider DDS
Atlanta, GA 30327-3813                          3939 J St                                 3521 Memorial Dr Ste A
                                                Sacramento, CA 95819-3636                 Decatur, GA 30032-2731


Dr. Asaf Yalif                                  Dr. Bobby Khan                            Dr. Gary Ganahl
Attn: Dr. Asaf Yalif                            Attn: Dr. Bobby Khan                      Attn: Dr. Gary Ganahl
145 Towne Lake Pkwy Ste 101                     5673 Peachtree Dunwoody Rd Ste 440        1770 Century Blvd NE
Woodstock, GA 30188-4849                        Atlanta, GA 30342-1797                    Atlanta, GA 30345-3395


Dr. Hetesh Ranchod                              Dr. Jason Reingold                        Dr. Tapan Daftari
Attn: Dr. Hetesh Ranchod                        Attn: Dr. Jason Reingold                  Attn: Dr. Tapan Daftari
2769 Chastain Meadows Parkway Suite 70          5669 Peachtree Dunwoody Rd                270 Chastain Rd
Marietta, GA 30066-3368                         Atlanta, GA 30342-1786                    Kennesaw, GA 30144-3012
                         Case 21-01167-abl    Doc 63       Entered 03/24/22 13:42:00    Page 9 of 15
Durango Outpatient Surgery Center            Elite First Assisting                     Elite Radiology of Georgia LLC
Attn: Matt Pate                              Attn: Tyrone W. Rogers                    Attn: Kevin Johnson
8530 W Sunset Rd                             1235Magnolia Park Circle                  4800 Ashford Dunwoody Rd Ste 140
Las Vegas, NV 89113-2244                     Cumming, GA 30040-8338                    Atlanta, GA 30338-5554


Elizabeth Caughey, DDS                       Erik T. Bendiks MD                        Evans Procedure Center
Attn: Elizabeth Caughey, DDS                 Attn: Kelly Millard                       Attn: Hemant Yagnick MD
25-A Lenox Pointe NE                         11650 Alpharetta Hwy Ste 100              404 Town Park Blvd Suite 101
Atlanta, GA 30324-7420                       Roswell, GA 30076-3805                    Evans, GA 30809-3491


ExpressCHEX LLC                              FIRST SAVINGS BANK                        First Coast Health Solutions
Attn: Nicholas Athanasatos                   ATTN: MANAGING MEMBER                     Attn: Aron Stefanides
2035 Sunset Lake Rd. Suite B-2               5960 S. JONES BLVD.                       211 N Liberty St
Newark, DE 19702-2600                        LAS VEGAS, NV 89118-2610                  Jacksonville, FL 32202-2800


FirstScanTM Omaha                            Flamingo Surgery Center                   GPmicro, Inc.
Attn: Daniel Cinotto                         Attn: Nick Paciello                       c/o Borg Law Group, LLC, Reg. Agent
9840 S 140th St Ste 5                        2565 E Flamingo Rd                        8988 W. Cheyenne Ave., Suite 150
Omaha, NE 68138-3692                         Las Vegas, NV 89121-5203                  Las Vegas, NV 89129-8928


GREGORY M CASH                               GRIFFIN ASSET MANAGEMENT LLC              Georgia Health Imaging
TYRINGA ROAD                                 ATTN: MICHAEL E. GRIFFIN                  Attn: Maria Budhwani
PORT KENNEY, SA 5671, AUSTRALIA              230 PARK AVE.                             4025 Lawrenceville Hwy NW
                                             10TH FLOOR, SUITE 61                      Lilburn, Georgia 30047-3013
                                             NEW YORK, NY 10169-0005

Georgia Neurological Surgery &               Georgia Neuroscience                      Georgia Pain & Spine Care
Comprehensive Spine                          Attn: Alex Bannister                      Attn: Jay Rice
Attn: Brandt Halbach                         335 Roselane St NW #202                   1665 Georgia Hwy 34 East #100
2142 W Broad St Bldg 100 Suite 200           Marietta, GA 30060-7902                   Newnan, GA 30265
Athens, GA 30606-3509

Georgia Pain & Wellness Center               Georgia Pain Samson                       Georgia Pain and Spine Solutions
Attn: Amit Patel                             120 Stonebridge Pkwy Ste 420              Attn: Marcus Polk
455 Phillip Blvd Building 100 Suite 140      Woodstock, GA 30189-3769                  76 Highland Pavilion Ct #133
Lawrenceville, GA 30046-8767                                                           Hiram, GA 30141-3170


Georgia Spine & Orthopedics                  Gerald M. Gordon, Esq.                    Glendale MRI Institute
Attn: Winston Jeshuran                       Garman Turner Gordon LLP                  Attn: James Lilley
6501 Peake Rd. Suite 400                     7251 Amigo Street, Ste. 210               624 S Central Ave #2009
Macon, GA 31210-8046                         Las Vegas, Nevada 89119-4302              Glendale, CA 91204-2009


Griffin Imaging LLC                          Gwinnett Hospital System Inc.             HASELECT-FTM MEDICAL RECEIVABLES
Attn: Paul Cote                              Attn: Cathy H.Daugherty                   LITIGATION FINANCE FUND SP
220 Rock St                                  1000 Medical Center Blvd                  C/O HEDGEACT INT’L SPC, LTD.
Griffin, GA 30224-4235                       Lawrenceville, GA 30046-7694              403 SOUTH LA GRANGE RD.
                                                                                       LA GRANGE, IL 60525-2449

HASELECT-FTM MEDICAL RECEIVABLES             HASELECT-FTM MEDICAL RECEIVABLES          HASelect-Medical Receivables Litigation Fina
LITIGATION FINANCE FUND SP                   LITIGATION FINANCE FUND, SP               c/o Bart K. Larsen, Esq.
C/O THOMAS C. CRONIN                         C/O JOHN N. HOURIHANE, JR.                1731 Village Center Circle, Suite 150
120 N. LASALLE ST., 20TH FLOOR               120 N. LASALLE ST., 20TH FLOOR            Las Vegas, NV 89134-0517
CHICAGO, IL 60602-2452                       CHICAGO, IL 60602-2452
                           Case 21-01167-abl    Doc 63       Entered 03/24/22 13:42:00    Page 10 of 15
HEALTHPLUS IMAGING OF TEXAS, LLC               Healing Hands Physical Therapy Centers     Health n Home
ATTN: MANAGING MEMBER                          Attn: Patricia Burnley                     Attn: Paul G. Rowan
9000 SOUTHWEST FREEWAY, SUITE 250              1930 A Highland Ave                        P.O. Box 20 Attn Corp Tax 70428
HOUSTON, TX 77074-1520                         Augusta, GA 30904-7803                     Boise, ID 83726-0020


HealthPlus Imaging                             HealthSouth Rehabilitation Hospital        Henderson Radiology Inc.
Attn: Stephanie Lam                            of Las Vegas                               Attn: Jade Alfasi
9000 Southwest Fwy                             Attn: Mark Tarr                            10561 Jeffreys St Ste 111
Houston, TX 77074-1526                         1250 South Valley View Blvd                Las Vegas, NV 89052-4267
                                               Las Vegas, NV 89102-1855

Hieu Ball MD                                   Hilltop Radiology LLC                      Howard Golden
Attn: Hieu Ball MD                             Attn: Joel Choe                            Attn: Howard Golden
100 Park Pl                                    2970 Hilltop Mall Rd                       1140 Hammond Dr
San Ramon, CA 94583-4460                       Richmond, CA 94806-1947                    Atlanta, GA 30328-5338


INFINITY CENTERS UNITED                        INFINITY DIAGNOSTICS, LLC DBA PRESTIGE M   INTERNAL REVENUE SERVICE
ATTN: MANAGING MEMBER                          ATTN: MANAGING MEMBER                      ATTN: BANKRUPTCY DEPT/MANAGING AGENT
3310 EDLOE STREET                              3310 EDLOE STREET                          P.O. BOX 7346
HOUSTON, TX 77027-6502                         HOUSTON, TX 77027-6502                     PHILADELPHIA, PA 19101-7346


Imagelink LLC                                  Imtisal Khuri                              JENNIFER DE BONO
Attn: Kurt Taylor                              1148 Broken Hills Dr.                      89 SOUTHFORK DRIVE
1350 Scenic Hwy N. Suite 268                   Henderson, NV 89011-3073                   GLENNING VALLEY, NSW 2261, AUSTRALIA
Snellville, GA 30078-7907


JOHN & KAREN LAUB                              JUDY L. TRENT                              James Scheller MD
9501 ROYAL WINDSOR AVENUE                      9724 CAMDEN HILLS AVE                      Attn: James Scheller MD
LAS VEGAS, NV 89149-0167                       LAS VEGAS, NV 89145-8611                   2288 Auburn Blvd Ste 201
                                                                                          Sacramento, CA 95821-1620


Jeffrey Goldberg MD                            Joint Active Systems Inc.                  Jordanica Inc.
Attn: Jeffrey Goldberg MD                      Attn: Boris Bonutti                        Attn: Mark A. Premselaar
210 E Derenne Ave                              2600 S Raney St                            780 Coronodo Cneter Dr. Suite 110A
Savannah, GA 31405-6736                        Effingham, IL 62401-4219                   Henderson, NV 89052-5056


KABBAGE                                        Katia Cabayan                              LUKE DE BONO
ATTN: MANAGING MEMBER                          Attn: Katia Cabayan                        89 SOUTHFORK DRIVE
730 PEACHTREE STREET NE, SUITE 1100            2970 Hilltop Mall Rd                       GLENNING VALLEY, NSW 2261, AUSTRALIA
ATLANTA, GA 30308-1263                         Richmond, CA 94806-1947


Las Vegas Pharmacy Inc.                        Las Vegas Sleep Center PLLC                Ledesma Sports Medicine
Attn: Douglas L. Copsey                        Attn: Mohamed Shimaya                      Attn: Ernest Ledesma
2600 W Sahara Ave Ste 120                      2400 S Cimarron Rd                         7010 Hodgson Memorial Dr
Las Vegas, NV 89102-4366                       Las Vegas, NV 89117-7902                   Savannah, GA 31406-2529


Legacy Brain & Spine                           MATT VALENTI                               MAX ORAM
Attn: Dr. Said Elshihabi, Md                   1651 S. VICTORIA AVE.                      1840 ULAN ROAD
718 Cherokee St NE                             LOS ANGELES, CA 90019-5929                 MUDGEE, NSM 2850, AUSTRALIA
Marietta, GA 30060-7253
                          Case 21-01167-abl    Doc 63         Entered 03/24/22 13:42:00   Page 11 of 15
MD Pain Care                                  MMR Holdings Inc.                           Macon Pain Center PC
Attn: Roy L. Talley MD                        Attn: John Platusic                         Attn: Carlos J. Giron
5109 Highway 278 NE Ste C                     630 South Rancho Dr. Suite G                3356 Vineville Ave.
Covington, GA 30014-2608                      Las Vegas, NV 89106-4849                    Macon, GA 31204-2328


Mariposa Medical Associates                   Mark W. Howard MD                           Matthew Valenti
Attn: Faye Vargas Morris MD                   Attn: Mark W. Howard MD                     1651 S. Victoria Av
767 Concord Rd SE                             576 Hartnell St                             LA, CA 90019-5929
Smyrna, GA 30082-2625                         Monterey, CA 93940-2834


Medica Stand Up MRI of Atlanta                Michael S. Champney MD, F.A.C.S.            Monitoring and Neuromonitoring
Attn: Thomas R. Cormier                       Attn: Michael S. Champney MD                Associates Payment Letter
6590 Powers Ferry Rd                          2665 N Decatur Rd                           Attn: Teresa L. Carter
Atlanta, GA 30339-2933                        Decatur, GA 30033-6149                      9811 West Charleston Suite 2-641
                                                                                          Las Vegas, NV 89117-7528

NEVADA DEPT. OF TAXATION                      NV ENERGY                                   Neurological Associates of Nevada
BANKRUPTCY SECTION                            ATTN: MANAGING MEMBER                       Attn: Managing Member
555 E. WASHINGTON AVENUE #1300                P.O. BOX 98910                              2831 Business Park Ct Ste B
LAS VEGAS, NV 89101-1046                      LAS VEGAS, NV 89151-0001                    Las Vegas, NV 89128-9007


Nick DeFillips MD                             Non-Surgical   Orthopaedics P.C.            North Atlanta Surgical Associates
Attn: Nick DeFillips MD                       Attn: Arnold   J. Well MD                   Attn: Managing Member
990 Hammond Dr # 730                          335 Roselane   St NW                        5673 Peachtree Dunwoody Rd Ste 3
Atlanta, GA 30328-5510                        Marietta, GA   30060-7902                   Atlanta, GA 30342-1731


North DeKalb Orthopedics PC                   North Fulton Anesthesia Inc.                North Fulton Medical Center Inc.
Attn: Sylvia Brumelow                         Attn: James G. Velimesis                    Attn: Deborah C. Keel
505 Irvin Ct Ste 200                          3000 Hospital Blvd                          3000 Hospital Blvd
Decatur, GA 30030-1780                        Roswell, GA 30076-4915                      Roswell, GA 30076-3899


North Houston Injury/Rehabilitation           Northern California Orthopedic Centers      Northwest Neurology
Attn: Managing Member                         Attn: Paul Susaura MD                       Attn: Robert Bashuk MD
523 N Sam Houston Pkwy E                      6403 Coyle Ave Ste 170                      4460 Austell Rd
Houston, TX 77060-4048                        Carmichael, CA 95608-0363                   Austell, GA 30106-1844


Open MRI Of Savannah                          Open MRI of Macon                           Ortho Now PLLC
Attn: Toni S. Cowan                           Attn: Lisa Waldrop                          Attn: Bret Sokoloff, MD
4815 Waters Ave                               1504 Hardeman Ave Ste B                     4901 Raleigh Common Dr. Suite 200
Savannah, GA 31404-6221                       Macon, GA 31201-1464                        Memphis, TN 38128-2478


Orthopaedic Solutions                         Orthopedic Foot and Ankle Institute         Outpatient Imaging
Attn: Dr. Antenor Velazco, MD                 Attn: Roman Sibel, MD                       Attn: John F Howard MD
670 S. 8th Street                             3175 Saint Rose Pkwy Ste 320                3280 Howell Mill Rd NW Ste 345
Griffin, GA 30224-4214                        Henderson, NV 89052-3508                    Atlanta, GA 30327-4113


Pain Care Center of Georgia                   Pain Consultants of Atlanta                 Pain Institute of Georgia
Attn: Crystal Marcum                          Attn: Ashley Bernal                         Attn: Carlos J. Giron
1365 Rock Quarry Rd Ste 202                   1800 Peachtree St NW Ste 750                3356 Vineville Ave
Stockbridge, GA 30281-5023                    Atlanta, GA 30309-2530                      Macon, GA 31204-2328
                        Case 21-01167-abl    Doc 63       Entered 03/24/22 13:42:00       Page 12 of 15
Pain Management Specialists of Atlanta PC   Parkaire Consultants                          Peachtree Neurosurgery
Attn: Randall Berinhout                     Attn: Randall Sheffield                       Attn: Joy Taylor
440 Prime Point                             4939 Lower Roswell Rd Ste 201C                1938 Peachtree Rd NW
Peachtree, GA 30269-3309                    Marietta, GA 30068-4384                       Atlanta, GA 30309-1267


Peachtree Orthopaedic Center P.A.           Perimeter Orthopaedics PC                     Perimeter Outpatient Surgical Associates
Attn: Managing Member                       Attn: Katheryn Keller                         Attn: Katheryn Keller
2001 Peachtree Rd NE Suite 700              5673 Peachtree Dunwoody Rd Ste 825            5667 Peachtree Dunwoody Rd
Atlanta, GA 30309-1476                      Atlanta, GA 30342-1771                        Atlanta, GA 30342-1714


Perimeter Surgical Center                   Perseus Limited                               Phenix City Spine and Topple Diagnostics
Attn: Cindy Smith                           1651 S. Victoria Av                           Attn: Brent Jones
6105 Peachtree Dunwoody Rd Ste 110          LA, CA 90019-5929                             10800 Alpharetta Hwy #208-541
Atlanta, GA 30328-5909                                                                    Roswell, GA 30076-1490


Philip C. Colosimo Ph.D                     Pinnacle Orthopaedics Sports Medicine         Pinnacle Orthopaedics Surgery Center-
Attn: Philip C. Colosimo Ph.D               Speacialists, LLC                             Woodstock, LLC
501 S Rancho Dr. Suite C-14                 Attn: Donna L. Fisher                         Attn: Donna L. Fisher
Las Vegas, NV 89106-4831                    720 Transit Ave Ste 202                       1505 Stone Bridge Pkwy Ste 200
                                            Canton, GA 30114-2544                         Woodstock, GA 30189-8282

Plastikos Plastic and Recinstructive        Polaris Center for Outpatient Spine Surgery   Polaris Spine & Neurosurgery Center P.C.
Surgery & Millennium Healthcare             Attn: Joy Taylor                              Attn: Joy Taylor
Attn: Susan Kolb MD                         1150 Hammond Drive Suite 400                  1150 Hammond Drive Suite 400
4370 Georgetown Sq                          Atlanta, GA 30328-8617                        Atlanta, GA 30328-8617
Atlanta, GA 30338-6205

Preva Advanced Surgicare-                   (c)PRO PERFORMANCE P.T.                       Process Servers Inc.
The Woodlands LLC                           ATTN: AMANDA STILLINGS                        Attn: Martin Druckman
Attn: Hugh P. Shannonhouse                  4343 SHALLOWFORD RD STE 630                   1736 East Charleston Unit 333
26710 I-45 N Ste B-100                      MARIETTA GA 30062-5080                        Las Vegas, NV 89104-7900
The Woodlands, TX 77386

Psychological Diagnostic Center LLC         Pulse Imaging                                 RENT-MDL GROUP
Attn: Willa L. Boston PH. D                 Attn: Managing Member                         ATTN: MANAGING MEMBER
1820 Powers Ferry Rd. SE Building 22        202 N Texas Ave Ste 500                       5960 SOUTH JONES BOULEVARD
Suite 200                                   Webster, TX 77598-4968                        LAS VEGAS, NV 89118-2610
Atlanta, GA 30339

ROBIN W. SMITH                              Regenerative Orthopaedics and Spine           Rehabilitation That Works
12 ESTUARY COURT                            Institute PC                                  Attn: Bob Bedford
TWIN WATERS, QLD 4564, AUSTRALIA            Attn: Phillip G. Ploska MD                    801 S Rancho Dr Ste F4
                                            203 Medical Blvd.                             Las Vegas,NV 89106-3814
                                            Stockbridge, GA 30281-7218

Restoration Counseling Services LLC         Robert and Patty Sandler                      Rock Bridge Institute
Attn: Faith Abraham                         3655 Decatur Blvd. Suite 14173                Attn: Managing Member
1010 Huntcliff                              Las Vegas, NV 89103-6860                      2500 Hospital Blvd
Sandy Springs, GA 30350-7532                                                              Roswell, GA 30076-4907


Roy M. Rubin MD                             SOCIAL SECURITY ADMINISTRATION                STATE FARM FIRE & CASUALTY CO.
Attn: Roy M. Rubin MD                       ATTN: BANKRUPTCY DESK/MANAGING AGENT          ATTN: BANKRUPTCY DEPT/MANAGING AGENT
3455 American River Drive Ste.B             PO BOX 33021                                  3 RAVINIA DRIVE
Sacramento, CA 95864-5751                   BALTIMORE, MD 21290-3021                      ATLANTA, GA 30346-2118
                          Case 21-01167-abl    Doc 63       Entered 03/24/22 13:42:00   Page 13 of 15
(c)SACRAMENTO PAIN CLINIC                     Safeway Driver Fitness Centers Inc.       Safeway Psychological Services
ATTN: DR. MICHAEL LEVIN, MD                   Attn: Jeff Borchardt                      Attn: Jeff Borchardt
333 UNIVERSITY AVE STE 140                    16230 W Mayflower Dr                      16230 W Mayflower Dr
SACRAMENTO CA 95825-6535                      New Berlin, Wisconsin 53151-6596          New Berlin, Wisconsin 53151-6596


Saint Francis Memorial Hospital               San Ramon Surgery Center                  Santa   Barbara Cottage Hospital
Attn: Alan E. Fox                             Attn: Medina Henry                        Attn:   Gregory Friedrich
900 Hyde St                                   100 Park Pl Ste 110                       400 W   Pueblo St
San Francisco, CA 94109-4806                  San Ramon, CA 94583-4460                  Santa   Barbara, CA 93105-4390


Scott Barbour MD                              Seven Hills Surgery Center                South Atlanta MUA Center LLC
Attn: Scott Barbour MD                        Attn: Jeanne Elam                         Attn: Stephen B. Cooper
3240 NE Expy NE Ste 200                       876 Seven Hills Dr                        541 Forest Parkway Suite 14
Atlanta, GA 30341-4003                        Henderson, NV 89052-4369                  Forest Park, GA 30297-6110


South Placer Surgery Center                   Southeast Open MRI                        Southern Cross Surgery Center
Attn: Brian Hunt                              Attn: Toni S. Cowan                       Attn: R.L. Talley Jr. MD
8723 Sierra College Blvd                      1103 Fountain Lake Dr                     1301 Sigman Rd NE
Roseville, CA 95661-5990                      Brunswick, GA 31525-3039                  Conyers, GA 30012-3819


Specialty Orthopaedics                        Specialty Surgery Center of Pecos         Spine Center Medical Group
Attn: Kevin Jarrard                           Attn: Craig N. Foreman                    Attn: Jodie Faier
1240 Jesse Jewell Pkwy SE # 300.              1569 E. Flamingo Rd                       455 Hickey Blvd Ste 310
Gainesville, GA 30501-3861                    Las Vegas, NV 89119-5321                  Daly City, CA 94015-2630


SpinePlus Healthcare                          Sports Concussion Institute               St. George Surgical Center
Attn: Raymond Torres                          Attn: Jay H. Paik                         Attn: Terrill Dick
2918 San Jacinto St Suite 150                 3200 Downwood Cir NW                      676 S Bluff St
Houston, TX 77004-2708                        Atlanta, GA 30327-1610                    Saint George, UT 84770-3512


Starpoint Health Inc.                         Stat Diagnostics Cuevas Diagnostics LLC   Statesboro Neurosurgery
Attn: EricD Friedlander                       Attn: Cesar Cuevas                        Attn: Dr.Donald Graham
20360 SW Birch St Ste 110                     4710 Katy Freeway                         1211 Merchant Way Ste 411
Newport Beach, CA 92660-1532                  Houston, TX 77007-2204                    Statesboro, GA 30458-0865


Stellar Ambulartory Anesthesia                Stone Creek Surgery Center                Stonecreek Capital Advisors
Consultants LLC                               Attn: Jeanne Elam                         Attn: Robert Spertell
Attn: Timothy Griner                          5915 S Rainbow Blvd                       19710 Skyline Blvd
1150 Hammond Drive Suite 600                  Las Vegas, NV 89118-2557                  Los Gatos, CA 95033-8262
Atlanta, GA 30328-8615

Streeterville Open MRI LLC                    Stutz Artiano & Holtz                     Supriti Baylan DDS
Attn: Edwin Sage                              Attn: Ljubisa Kostic                      Attn: Supriti Baylan DDS
446 E Ontario St Ste 106                      1120 N Town Center Dr                     2145 Roswell Rd Ste 120
Chicago, IL 60611-7110                        Las Vegas, NV 89144-6300                  Marietta, GA 30062-0819


Surgery Center of Athens LLC                  Surgery Center of Southern Nevada         Surgery Excellence Management LLC
Attn: Brandon O’Dell                          Attn: Managing Member                     Attn: Lori Ramirez
2142 W Broad St Ste 100                       4275 Burnham Ave                          2100 West Loop South Suite 1200
Athens, GA 30606-3509                         Las Vegas, NV 89119-5400                  Houston, TX 77027-3599
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Surgical Imaging Services Inc.              Sutton Orthopaedics & Sports Medicine     Swaroop N. Nyshadham MD
Attn: Josephine Shameria                    Attn: Michael A. Birke MD                 Attn: Swaroop N. Nyshadham MD
782 Dynasty Dr                              145 Medical Blvd                          1990 Lukken Industrial Dr W
Fairfield, CA 94534-6612                    Stockbridge, GA 30281-5083                Lagrange, GA 30240-1404


TECUMSEH ALTERNATIVES, LLC                  THE INJURY SPECIALISTS, LLC               Tecumseh Infinity Medical Receivables Fund,
ATTN: MANAGING MEMBER                       ATTN: MANAGING MEMBER                     5668 Morris Hunt Drive
5668 MORRIS HUNT DRIVE                      270 CARPENTER DRIVE, SUITE 300            Fort Mill, SC 29708-6571
FORT MILL, SC 29708-6571                    SANDY SPRINGS, GA 30328-4933


The Hand & Upper Extremity Center           The Injury Specialist LLC                 The Pain Clinic
of Georgia PC                               Attn: Michael Wax                         Attn: Roper Dollarhide
Attn: Jeffrey Klugman                       5464 Peachtree Blvd                       5445 W Sahara Ave
980 Johnson Ferry Rd Ste 1000               Chamblee, GA 30341-2235                   Las Vegas, NV 89146-0308
Atlanta, GA 30342-1639

The Pain Relief Center of Georgia           The Physicians Atlanta Surgery Center     The Physicians Lab Services
Attn: Idi Allen MD                          Attn: Sharryn Seffozo                     Attn: Sharryn Seffozo
101 Yorktown Dr Ste 211                     5730 Glenridge Dr Ste 110                 5730 Glenridge Dr Ste 110
Fayetteville, GA 30214-1578                 Atlanta, GA 30328-5579                    Atlanta, GA 30328-5579


The Physicians North Atlanta Surgery Cntr   The Physicians Rome Surgery Center        The Woodlands Specialty Hospital
Attn: Sharryn Seffozo                       Attn: Sharryn Seffozo                     Attn: Antonio Canales
5730 Glenridge Dr Ste 110                   5730 Glenridge Dr Ste 110                 25440 I-45 N
Atlanta, GA 30328-5579                      Atlanta, GA 30328-5579                    The Woodlands, TX 77386


Tobin Bone and Joint Surgery Inc.           Tushar M. Goradia MD PhD                  Tyrone Synergy Rehabilitation
Attn: Joseph Tobin                          Attn: Tushar M. Goradia MD PhD            Attn: Branton R. Queen PT
12 Lafayette Place Suite A                  6555 Coyle Ave                            100 Millbrook Village Dr
Hilton Head Island, SC 29926-2203           Carmichael, CA 95608-0302                 Tyrone, GA 30290-3603


U.S. TRUSTEE - LV - 7                       Ultimate Physical Therapy LLC             University Medical Center
300 LAS VEGAS BOULEVARD, SO.                Attn: Sayeeda Kurlawala                   Attn: Lacy L. Thomas
SUITE 4300                                  10929 Katy Fwy Ste B                      1800 W Charleston Blvd
LAS VEGAS, NV 89101-5803                    Houston, Texas 77079-2203                 Las Vegas, NV 89102-2386


Valley Anesthesiology                       Valley Health System                      Viking Pain Management
Attn: Garland Cowen                         Attn: Managing Member                     Anthony Rotando
10120 South Eastern Suite 200               2075 E Flamingo Rd                        1229 Creek Way Dr Ste 104
Henderson, NV 89052-3926                    Las Vegas, NV 89119-5188                  Sugarland , TX 77478-4556


Werner Institute of Balance & Dizziness     White Oak Surgery Center                  Wilcorp LLC
Attn: Managing Member                       Attn: Jay Rice                            Attn: Robin Wilson
9080 W Cheyenne Ave                         1665 Highway 34 E Ste 200                 11204 S. 75th E. Ave
Las Vegas, NV 89129-8936                    Newnan, GA 30265-2404                     Bixby, OK 74008-2043


William A. Segal MD                         XL2XS LLC                                 Yarbro Ltd. dba Lake Mead Radiologists
Attn: William A. Segal MD                   Attn: Saira McKinley                      Attn: Donald Den Yarbro Jr. MD
3800 Pleasant Hill Rd Ste 3                 5413 Rose Thicket St                      2559 Wigwam Pkwy
Duluth, GA 30096-1428                       Las Vegas, NV 89130-1675                  Henderson, NV 89074-6230
                           Case 21-01167-abl            Doc 63       Entered 03/24/22 13:42:00              Page 15 of 15
MATTHEW C. ZIRZOW                                      ROBERT E. ATKINSON
LARSON & ZIRZOW, LLC                                   376 E WARM SPRINGS RD STE 130
850 E. BONNEVILLE AVE.                                 LAS VEGAS, NV 89119-4262
LAS VEGAS, NV 89101-7031




                                       Addresses marked (c) above for the following entity/entities were corrected
                                            as required by the USPS Locatable Address Conversion System (LACS).


Pro Performance P.T.                                   Sacramento Pain Clinic
Attn: Amanda Stillings                                 Attn: Dr. Michael Levin, MD
4343 Shallowford Rd Ste G-3 & 4                        777 Campus Commons Rd
Marietta, GA 30062                                     Sacramento, CA 95825




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P.O. BOX 4065, MONROE, LA                              AVARUA, RAROTONGA, COOK ISLANDS                      FIRST FLOOR, LAW PARTNERS HOUSE-LINI HIG
                                                                                                            EFATE, VANUATU

(d)First Savings Bank                                  (u)Gregory Martin Cash                               (u)IMTISAL KHURI
Attn: Managing Member                                  Private Mail Bag 9 Port Kenny South Aust
5960 S. Jones Blvd.                                    Private Mail Bag 9 Port Kenny South Aust
Las Vegas, NV 89118-2610


(d)State Farm Fire & Casualty Co.                      (d)The Injury Specialists                            (d)The Injury Specialists, LLC
Attn: Bankruptcy Dept/Managing Agent                   c/o Sagebrush Lawyers                                Attn: Managing Member
3 Ravinia Drive                                        112 S. Water Street, Suite 104                       270 Carpenter Drive, Suite 300
Atlanta, GA 30346-2118                                 Henderson, NV 89015-2312                             Sandy Springs, GA 30328-4933


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